     Case 4:20-cv-00283-O Document 35 Filed 02/25/21              Page 1 of 36 PageID 436



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JOHN KELLEY et al.,                            §
                                                §
         Plaintiffs,                            §
                                                §
 v.                                             §       Civil Action No. 4:20-cv-00283-O
                                                §
 ALEX M. AZAR II et al.,                        §
                                                §
         Defendants.                            §

                                             ORDER

        Before the Court are Defendants’ Motion to Dismiss First Amended Complaint Pursuant

to Rules 12(b)(1) and 12(b)(6) (ECF No. 20), filed August 7, 2020; Plaintiffs’ Response (ECF No.

24), filed September 12, 2020; and Defendants’ Reply (ECF No. 32), filed October 5, 2020. Having

considered the briefing, relevant facts, and applicable law, the Court finds that the Motion should

be and is hereby GRANTED in part and DENIED in part. Specifically, the Court GRANTS

Defendants’ Motion to Dismiss Plaintiffs’ statutory-interpretation claim and the Religious

Objectors’ challenges to the Contraceptive Mandate as res judicata. The Court DENIES all other

requested relief.

I.      BACKGROUND

        A. Legal Backdrop

        This case arises out of yet another dispute over the Patient Protection and Affordable Care

Act (“ACA”). In 2010 through the ACA, Congress mandated that group health plans and health

insurers “provide coverage for and shall not impose any cost sharing requirements for” a litany of

preventive health services identified by committees operating under the authority of the

Department of Health and Human Services (“HHS”). 42 U.S.C. § 300gg-13. Among those
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                      Page 2 of 36 PageID 437



requirements shielded from cost sharing are (1) “evidence-based items or services that have in

effect a rating of ‘A’ or ‘B’ in the current recommendations of the United States Preventive

Services Task Force [(“PSTF”)]”; (2) “immunizations that have in effect a recommendation from

the Advisory Committee on Immunization Practices of the Centers for Disease Control and

Prevention [(“ACIP”)]”; (3) “with respect to infants, children, and adolescents, evidence-informed

preventive care and screenings provided for in the comprehensive guidelines supported by the

Health Resources and Services Administration [(“HRSA”)]”; and (4) “with respect to women,

such additional preventive care and screenings . . . as provided for in comprehensive guidelines

supported by the [HRSA] . . . .” 42 U.S.C. § 300gg-13(a)(1)–(4) (collectively, the “Provisions”).

        Plaintiffs challenge the constitutionality1 of “preventive-care coverage” required under

section 300gg-13 because it is unwanted, unnecessary, and responsible for driving up the cost of

available health insurance plans on the open market. See Am. Compl. 8–13, ECF No. 14. Plaintiffs

also specifically challenge two mandates issued by the committees since the ACA’s enactment:

(1) the familiar and oft-litigated Contraceptive Mandate, codified at 45 C.F.R. § 147.130(a)(1)(iv),

29 C.F.R. § 2590.715–2713(a)(1)(iv), and 26 C.F.R. § 54.9815–2713(a)(1)(iv); and (2) the PSTF’s

preexposure prophylaxis (“PrEP”) drugs mandate (collectively, the “Mandates”). See U.S.

Preventive Services Task Force, Final Recommendation Statement: Prevention of Human

Immunodeficiency Virus (HIV) Infection: Preexposure Prophylaxis (June 11, 2019),

https://bit.ly/2NyeXJM.

        In 2018, John and Alison Kelley, two of the same Plaintiffs here, filed a class action suit

against the same Defendants here, challenging the Contraceptive Mandate. See Compl., DeOtte v.



1
 Plaintiffs contend the provisions are unconstitutional because they violate the United States Constitution’s
Appointments and Vesting Clauses, nondelegation doctrine, and the Religious Freedom Restoration Act.
See Am. Compl. 7–25, ECF No. 14.
                                                     2
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                      Page 3 of 36 PageID 438



Azar, 393 F. Supp. 3d 490 (N.D. Tex. 2019) (O’Connor, J.), No. 4:18-cv-825. In that case, this

Court enjoined Defendants from enforcing the Contraceptive Mandate against the class of

employers and individuals who, either at the time or in the future, object to the Contraceptive

Mandate for sincere religious reasons. See DeOtte, 393 F. Supp. 3d at 513–15. The Court’s

judgment is on appeal, but the injunction remains in place. See id., appeal docketed, Case No. 19-

10754 (5th Cir. July 16, 2019). Practically, the injunction allows—but of course does not require—

insurers to offer insurance plans that do not include contraception coverage for religious objectors.

        B. This Case

        Plaintiffs are various individuals and entities who challenge the constitutionality of the

ACA’s Provisions and mandates issued pursuant to this grant of authority to the PSTF, ACIP, and

HRSA. See Am. Compl. 7–25, ECF No. 14. Specifically, Plaintiffs Braidwood Management,

Kelley Orthodontics, John Kelley, Joel Starnes, Zach Maxwell, and Ashley Maxwell (the

“Religious-Objector Plaintiffs”) all object to paying for health insurance plans that cover

contraceptives, PrEP drugs, and other preventive-care services for religious reasons. See id. at 7–

13. Plaintiffs Donovan Riddle, Karla Riddle, Joel Miller, and Gregory Scheideman (the “Free-

Market Plaintiffs”) object to paying for health insurance plans that include contraceptive coverage

and other preventive-care coverage that they do not want and do not need. See id. at 9–11.

Ultimately, all Plaintiffs express a desire to purchase on the open market insurance policies that

meet their needs and are free from the requirements of the Provisions and their resulting mandates.

See id. at 7–13.

        Plaintiffs filed suit against the United States and Secretaries Azar, Mnuchin, and Scalia2

seeking (1) an injunction to prevent their departments from enforcing the Mandates; (2) a


2
 Defendants should, at the appropriate time, file a notice indicating the names of the individuals who should
be substituted as parties.
                                                     3
      Case 4:20-cv-00283-O Document 35 Filed 02/25/21                Page 4 of 36 PageID 439



declaration that the Provisions are unconstitutional; and (3) a declaration that the PrEP Mandate

violates the Religious Freedom Restoration Act (“RFRA”). See Am. Compl. 25–26, ECF No. 14.

Plaintiffs challenge the Provisions and Mandates on five grounds. First, they claim the Provisions

violate the Appointments Clause of the United States Constitution. See id. at 13–18. Next, they

claim the Provisions violate the Nondelegation Doctrine. See id. at 18–20. They also argue that

section 300gg-13(a)(1) violates the Vesting Clause of Article II of the United States Constitution.

See id. at 20–22. Next, the Plaintiffs make a statutory interpretation argument that would render

invalid the Mandates issued after the ACA’s enactment. See id. at 22–24. Finally, Plaintiffs claim

the PrEP Mandate violates the RFRA. See id. at 25.

         Defendants moved to dismiss all of Plaintiffs’ claims under Federal Rules of Procedure

12(b)(1) and 12(b)(6). See Defs.’ Mot. 1, 9, ECF No. 20. Defendants challenge Plaintiffs’ claims

on standing, res judicata, limitations, and for failure to state claims upon which relief may be

granted. See id. at 15–43. The Motion is now ripe for the Court’s review. See Pls.’ Resp., ECF No.

24; Defs.’ Reply, ECF No. 32.

II.      LEGAL STANDARD

         A. Rule 12(b)(1)

         A motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) challenges a federal

court’s subject-matter jurisdiction. See Fed. R. Civ. P. 12(b)(1). A court dismisses a case under

Rule 12(b)(1) for lack of subject-matter jurisdiction if it “lacks the statutory or constitutional power

to adjudicate the case.” Home Builders Ass’n of Miss. v. City of Madison, 143 F.3d 1006, 1010

(5th Cir. 1998) (citation omitted). “It is the responsibility of the complainant clearly to allege facts

demonstrating that he is a proper party to invoke judicial resolution of the dispute and the exercise

of the court’s remedial powers,” Renne v. Geary, 501 U.S. 312, 316 (1991) (citation omitted), so



                                                   4
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 5 of 36 PageID 440



“[t]he burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting jurisdiction.”

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citation omitted). In ruling on a

12(b)(1) motion, a court may rely upon: “(1) the complaint alone; (2) the complaint supplemented

by undisputed facts evidenced in the record; or (3) the complaint supplemented by undisputed facts

plus the court’s resolution of disputed facts.” Barrera-Montenegro v. United States, 74 F.3d 657,

659 (5th Cir. 1996) (citation omitted). A court should “consider the Rule 12(b)(1) jurisdictional

attack before addressing any attack on the merits.” Ramming, 281 F.3d at 161 (citation omitted).

       B. Rule 12(b)(6)

       A defendant may file a motion to dismiss a complaint under Federal Rule of Civil

Procedure 12(b)(6) for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P.

12(b)(6). To defeat a motion to dismiss pursuant to Rule 12(b)(6), a plaintiff must plead “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556). “The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). “Where

a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of

the line between possibility and plausibility of entitlement to relief.’” Id. (quoting Twombly, 550

U.S. at 557).

       In reviewing a Rule 12(b)(6) motion, a court must accept all well-pleaded facts in the

complaint as true and view them in the light most favorable to the plaintiff. Sonnier v. State Farm

Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007). Courts are not bound to accept legal



                                                  5
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 6 of 36 PageID 441



conclusions as true, and only a complaint that states a plausible claim for relief survives a motion

to dismiss. Iqbal, 556 U.S. at 678–79. When there are well-pleaded factual allegations, a court

assumes their veracity and then determines whether they plausibly give rise to an entitlement to

relief. Id. at 679.

        “When a complaint fails to adequately state a claim, such deficiency should be ‘exposed at

the point of minimum expenditure of time and money by the parties and the court.’” Prewitt v.

Cont’l Auto., 927 F. Supp. 2d 435, 443 (W.D. Tex. 2013) (quoting Twombly, 550 U.S. at 558).

Courts should, however, give the plaintiff at least one chance to amend a complaint before

dismissing the action with prejudice. Id. (citing Great Plains Tr. Co. v. Morgan Stanley Dean

Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002)).

III.    ANALYSIS

        Defendants make several threshold challenges to Plaintiffs’ claims. See Defs.’ Mot. 15–27,

ECF No. 20. The Court addresses each of these before analyzing Plaintiffs’ claims under Rule

12(b)(6).

        A. Jurisdiction and Affirmative Defenses

               i. Standing

        The Constitution of the United States limits the jurisdiction of federal courts to “Cases”

and “Controversies.” U.S. Const., art. III, § 2. A principal idea underlying Article III’s case-or-

controversy requirement is the doctrine of standing. See Cibolo Waste, Inc. v. City of San Antonio,

718 F.3d 469, 473 (5th Cir. 2013). “Every party that comes before a federal court must establish

that it has standing to pursue its claims.” Id. “The doctrine of standing asks ‘whether the litigant is

entitled to have the court decide the merits of the dispute or of particular issues.’” Id. (quoting Elk

Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11 (2004)).



                                                  6
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 7 of 36 PageID 442



       The party invoking federal jurisdiction bears the burden of establishing standing. Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). The Supreme Court has established that the

“irreducible constitutional minimum of standing contains three elements. First, the plaintiff must

have suffered an ‘injury in fact’—an invasion of a legally protected interest which is (a) concrete

and particularized, and (b) ‘actual or imminent, not conjectural or hypothetical.’” Id. (citations

omitted). “Second, there must be a causal connection between the injury and the conduct

complained of—the injury has to be ‘fairly . . . traceable to the challenged action of the defendant

. . . .’” Id. (quoting Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 41–42 (1976)). “Third, it must

be ‘likely,’ as opposed to merely ‘speculative,’ that the injury will be ‘redressed by a favorable

decision.’” Id. at 561 (quoting Simon, 426 U.S. at 38, 43, 96). “For purposes of ruling on a motion

to dismiss for want of standing, both the trial and reviewing courts must accept as true all material

allegations of the complaint, and must construe the complaint in favor of the complaining party.”

Warth v. Seldin, 422 U.S. 490, 501 (1975).

       Defendants challenge Plaintiffs’ standing on three piecemeal grounds: (1) Religious-

Objector Plaintiffs’ standing; (2) Free-Market Plaintiffs’ standing; and (3) all Plaintiffs’ standing

to challenge anything besides the Contraceptive and PrEP Mandates. See Defs.’ Mot. 15–22, ECF

No. 20. The Court addresses each in turn.

                   1. Religious-Objector Plaintiffs and the Contraceptive Mandate

       Defendants submit that the Religious-Objector Plaintiffs lack standing to challenge the

Contraceptive Mandate for want of injury in fact, traceability, and redressability. See Defs.’ Mot.

16, ECF No. 20. First, Defendants assert that these Plaintiffs cannot show an injury in fact, because,

as Plaintiffs admit, Defendants are permanently enjoined from enforcing the Contraceptive

Mandate against any religious objector under this Court’s ruling in DeOtte. See id. Second,



                                                  7
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 8 of 36 PageID 443



Defendants argue that traceability cannot be shown because the alleged injury is the result of

independent choices of what types of coverage and plans to provide by insurers who are not parties

to this suit. See id. at 17. Third, Defendants argue that Plaintiffs cannot show that their claims are

likely to be redressed by a favorable decision here because the DeOtte injunction has already freed

insurers to offer health insurance without contraceptive coverage, though insurers have,

nevertheless, declined to do so. See id. at 18–19.

       Plaintiffs first concede “that Braidwood is no longer suffering an injury in fact from the

continued enforcement of the Contraceptive Mandate.” Pls.’ Resp. 6, ECF No. 24. Plaintiffs argue

that the rest of the Religious-Objector Plaintiffs have demonstrated injury, traceability, and

redressability to bring their Contraceptive-Mandate claim. See id. at 6–12. Plaintiffs argue that,

even though the Religious-Objector Plaintiffs are protected by the DeOtte injunction, they continue

to suffer injury because few, if any, insurance companies are currently offering contraceptive-free

policies. See id. at 7. The reason for this, Plaintiffs claim, is the continued application of the

Contraceptive Mandate to policies available to the rest of consumers who do not hold similar

religious objections. See id. In other words, the Contraceptive Mandate makes it financially

unappealing for insurers to offer contraceptive-free policies, thus, reducing, if not eliminating,

contraceptive-free health-insurance policies available on the market. See id. Plaintiffs also argue

that this injury is directly traceable to Defendants’ continued enforcement of the Contraceptive

Mandate, as before the Contraceptive Mandate, contraceptive-free policies were available on the

open market. See id. at 9–10. For this reason, Plaintiffs assert that a blanket injunction against

enforcement of the Contraceptive Mandate is likely to redress the injury they allege. See id. at 11–

12.

       The Religious-Objector Plaintiffs have sufficiently alleged an injury to give them standing



                                                  8
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 9 of 36 PageID 444



in this case. “[A]llegations of injury that is merely conjectural or hypothetical do not suffice to

confer standing;” however, at this stage, “allegations of injury are liberally construed.” Little v.

KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009). “At the pleading stage, general factual allegations

of injury resulting from the defendant’s conduct may suffice, for on a motion to dismiss we

presume that general allegations embrace those specific facts that are necessary to support the

claim.” Lujan, 504 U.S. at 561 (citation omitted). As relevant here, government regulations that

reduce the availability of goods or services in the marketplace can be sufficient to establish injury

in fact for standing purposes. See, e.g., Orangeburg, South Carolina v. FERC, 862 F.3d 1071,

1078 (D.C. Cir. 2017) (reduced availability of wholesale power); Coal. for Mercury-Free Drugs

v. Sebelius, 671 F.3d 1275, 1281, (D.C. Cir. 2012) (thimerosal-free vaccines); Consumer Fed’n of

Am. v. FCC, 348 F.3d 1009, 1011–12 (D.C. Cir. 2003) (high-speed internet); Competitive Enter.

Inst. v. Nat’l Highway Traffic Safety Admin., 901 F.2d 107, 112–13 (D.C. Cir. 1990) (larger

vehicles); Ctr. for Auto Safety v. Nat’l Highway Traffic Safety Admin., 793 F.2d 1322, 1332–34

(D.C. Cir. 1986) (fuel-efficient vehicles). In Orangeburg, that court made clear that “[t]he lost

opportunity to purchase a desired product is a cognizable injury . . . .” 862 F.3d at 1078. The injury

in fact here is Plaintiffs’ inability or reduced ability to purchase health insurance free of

contraception products that violate their sincere religious beliefs. This is sufficient for standing.

       The Religious-Objector Plaintiffs have also sufficiently alleged that the injury is traceable

to the Defendants and would be redressed by a favorable decision here. See Lujan, 504 U.S. at

560–61. Plaintiffs’ ongoing injury is directly tied to Defendants’ continued enforcement of the

Contraceptive Mandate. This makes sense: the Contraceptive Mandate is not called the

Contraceptive Suggestion precisely because not all insurers provided contraceptive coverage

before the Mandate. Defendants’ argument that any injury shown is attributable to the decisions



                                                  9
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 10 of 36 PageID 445



of independent insurers is of no moment because the Religious-Objector Plaintiffs need only show

that Defendants’ conduct caused some portion of the alleged injury. See Pub. Int. Rsch. Grp. of

N.J., Inc. v. Powell Duffryn Terminals Inc., 913 F.2d 64, 72 n.8 (3d Cir. 1990). If the Contraceptive

Mandate was enjoined altogether, Plaintiffs’ plausibly allege that supply in the insurance market

would return to its pre-ACA conditions to meet demand for policies that do not cover these

products. Construing the pleadings in the light most favorable to Plaintiffs, as the Court must at

this stage, see Warth, 422 U.S. at 501, the Religious-Objector Plaintiffs have sufficiently alleged

injury, traceability, and redressability; therefore, they have standing to bring their claims.

       Because the Religious-Objector Plaintiffs have standing to bring their claim, Defendants’

Motion to Dismiss the Religious-Objector Plaintiffs’ challenge to the Contraceptive Mandate for

lack of standing is DENIED.

                   2. Free-Market Plaintiffs

       Defendants submit that the Free-Market Plaintiffs lack standing to bring any of their claims

because they only object to the Contraceptive Mandate and have not sufficiently alleged that they

are harmed by any other Mandate. See Defs.’ Mot. 19–21, ECF No. 20. Defendants maintain that

the Free-Market Plaintiffs’ “cost increase theory” is speculative and is not a redressable injury

sufficient to confer standing. See id. at 8. Plaintiffs respond that, first, the Free-Market Plaintiffs

object to all of the Mandates issued after March 23, 2010, including the Contraceptive Mandate.

See Pls.’ Resp. 12, ECF No. 24 (citing Am. Compl. 9–10, ECF No. 14). Beyond that, Plaintiffs

contend that, while the basis for the objections is different, the Free-Market Plaintiffs are suffering

the same injury as the Religious-Objector Plaintiffs: “The inability (or reduced ability) to purchase

a desired product or service.” See Pls.’ Resp. 13, ECF No. 24. According to Plaintiffs, the inability

to obtain insurance that excludes coverage of some or all of the government-mandated preventive



                                                  10
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 11 of 36 PageID 446



care is an injury akin to state restrictions on abortion access, which courts have regularly found

sufficient for standing. See id. (citing Roe v. Wade, 410 U.S. 113, 124–25 (1973)). Additionally,

they argue that their allegation of increased cost for health insurance must be accepted as true at

the motion-to-dismiss stage. See id. at 13–14.

       The Free-Market Plaintiffs have standing to bring suit. Similar to the Religious-Objector

Plaintiffs, these Plaintiffs have alleged that it is impossible for them to purchase health insurance

free of contraceptives and other products they do not want or need as a result of the Provisions.

See Am. Compl. 9–11, ECF No. 14. While this is the same alleged injury as the Religious-

Objectors, the reason for the harm is different: the Free-Market Plaintiffs object to paying higher

prices for health insurance that provides coverage they do not wish to purchase. This type of

economic injury involving compulsion to purchase a product or service is sufficient to show that

the Free-Market Plaintiffs have suffered an injury in fact. See Orangeburg, 862 F.3d at 1077

(“Orangeburg suffered an injury-in-fact because it cannot purchase wholesale power on its desired

terms.”); Texas v. United States, 945 F.3d 355, 380 (5th Cir. 2019) (“In this context, being required

to buy something that you otherwise would not want is clearly within the scope of what counts as

a ‘legally cognizable injury.’ ‘Economic injury’ of this sort is ‘a quintessential injury upon which

to base standing.’” (quoting Tex. Democratic Party v. Benkiser, 459 F.3d 582, 586 (5th Cir. 2006)).

The Free-Market Plaintiffs have sufficiently alleged injury, traceability, and redressability;

therefore, they have standing to bring their claims.

       Because the Free-Market Plaintiffs have standing to bring their claims, Defendants’ Motion

to Dismiss all of the Free-Market Plaintiffs’ claims for lack of standing is DENIED.

                   3. All Plaintiffs’ Challenges to the Mandates other than the Contraceptive
                      Mandate and PrEP Mandate

       Finally, Defendants argue that, even if the Court disagrees on the first two standing

                                                 11
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 12 of 36 PageID 447



arguments, Plaintiffs’ alleged injuries, and thus standing, are limited to the Contraceptive Mandate

and PrEP Mandate because no Plaintiff has articulated any injury resulting from any other

Mandate. See Defs.’ Mot. 21–22, ECF No. 20. Plaintiffs respond that they sufficiently allege injury

from “other preventive-care coverage” that they do not want or need—for example, free STD

testing—and that requiring insurers to include that coverage results in more expensive health

insurance plans. See Pls. Resp 14–15, ECF No. 24 (citing Am. Compl. 7–13, ECF No. 14).

        Because the Court concludes that the economic harm alleged is, alone, an injury sufficient

to confer standing to challenge any Mandate issued pursuant to the Provisions, the Court rejects

Defendants’ argument. All Plaintiffs have sufficiently alleged injury, traceability, and

redressability and, thus, have standing to bring their claims. Accordingly, Defendants’ Motion to

Dismiss Plaintiffs’ challenges to the Mandates other than the Contraceptive Mandate and PrEP

Mandate for lack of standing is DENIED.

              ii. Res Judicata

        Defendants next argue that res judicata, or claim preclusion, bars the Religious-Objectors’

challenges to the Contraceptive Mandate because this Court’s injunction in DeOtte already

precludes the Contraceptive Mandate from being applied to the Religious-Objector Plaintiffs. See

Defs.’ Mot. 22–25, ECF No. 20. Specifically, Defendants contend that the Religious-Objector

Plaintiffs are, at a minimum, in privity with the DeOtte class members,3 the judgment was rendered

by a court of competent jurisdiction (this one), this first action concluded with a final judgment on

the merits, and the same claim or cause of action is involved in both suits. See id. at 23. For these

reasons, Defendants argue the elements of res judicata are met. See id. (citing Ellis v. Amex Life

Ins. Co., 211 F.3d 935, 937 (5th Cir. 2000)).


3
  No party has indicated that any of the named Religious-Objector Plaintiffs in this case have opted out of
the class established in DeOtte or are otherwise not protected by the injunction issued in that case.
                                                    12
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 13 of 36 PageID 448



        Plaintiffs only dispute the fourth element of res judicata, arguing that this is not the same

claim or cause of action asserted in DeOtte. See Pls.’ Resp. 15, ECF No. 24. Plaintiffs contend that

the Supreme Court’s decision in Whole Woman’s Health v. Hellerstedt forecloses Defendants’ res

judicata argument. See id. at 16. According to Plaintiffs, “Hellerstedt holds that res judicata applies

only when the same parties seek to relitigate ‘the very same claim.’” See id. (citing Whole Woman’s

Health v. Hellerstedt, 136 S. Ct. 2292, 2305 (2016). This is not “the very same claim,” Plaintiffs

argue, because, while the DeOtte class members challenged the agency rules, the Plaintiffs here

are challenging the constitutionality of the Provisions themselves. See Pls.’ Resp. 11, ECF No. 24.

Even aside from Hellerstedt, Plaintiffs argue that their claims are not barred by res judicata because

the current claims do not arise out of the “same nucleus of operative facts.” See id. at 18–19. While

the claims in DeOtte challenged only the behavior of executive-branch officials in enforcing the

Contraceptive Mandate, these claims, it is argued, challenge the constitutionality of section 300gg-

13(a)(4). See id. at 19.

        Res judicata precludes relitigation of claims that have been fully adjudicated or claims that

arise out of the same subject matter and could have been litigated in the prior action. Nilsen v. City

of Moss Point, 701 F.2d 556, 560 (5th Cir. 1983) (en banc). Claim preclusion has four elements:

(1) the parties are identical or in privity; (2) the judgment in the prior action was rendered by a

court of competent jurisdiction; (3) the prior action was concluded by a final judgment on the

merits; and (4) the same claim or cause of action was involved in both actions. Comer v. Murphy

Oil USA, Inc., 718 F.3d 460, 467 (5th Cir. 2013) (citation omitted). To determine whether these

are the same claims, the Court considers whether they share a “common nucleus of operative facts”

with the claims in the prior litigation. See Procter & Gamble Co. v. Amway Corp., 376 F.3d 496,

499 (5th Cir. 2004).



                                                  13
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 14 of 36 PageID 449



       The Court holds that res judicata bars the Religious-Objector Plaintiffs’ Contraceptive

Mandate challenge here. The crux is whether the current claim is merely a different theory upon

which to bring the same challenge as the one in DeOtte or a different claim or cause of action

altogether. If the Religious-Objector Plaintiffs’ are simply attempting to use a novel legal theory

or seek a different remedy to relitigate the same facts, their claim must be barred. See Snow

Ingredients, Inc. v. SnoWizard, Inc., 833 F.3d 512, 522 (5th Cir. 2016); Test Masters Educ. Servs.,

Inc. v. Singh, 428 F.3d 559, 571 (5th Cir. 2005). Res judicata operates to bar the Religious-Objector

Plaintiffs’ Contraceptive Mandate claim because it involves the same nucleus of operative facts

and could have been brought in the original suit in DeOtte. See 393 F. Supp. 3d at 498–99. Despite

Plaintiffs’ claims to the contrary, the Religious-Objector Plaintiffs here (1) challenge the same

statutory provision; and (2) allege the same injury as the DeOtte class.

       Plaintiffs are incorrect that their challenge to the agency rulemaking in DeOtte is separate

and distinct from their challenge to section 300gg-13(a)(4) here. DeOtte involved a challenge to

the agency’s implementation of the Contraceptive Mandate pursuant to section 300gg-13(a)(4).

See 393 F. Supp. 3d at 501. Here, Plaintiffs challenge the constitutionality of the statute itself. See

Am. Compl. 13–20, ECF No. 14. As lawyers love to say, this is a distinction without a difference.

Regardless of the legal theory upon which the challenge rests, the Religious-Objector Plaintiffs

here bring another challenge to the same requirement they claim has caused them injury: the

Contraceptive Mandate. “It is black-letter law that res judicata . . . bars all claims that were or

could have been advanced in support of the cause of action on the occasion of its former

adjudication.” Nilsen, 701 F.2d at 560. The DeOtte class members could have brought the present

challenge to the constitutionality of section 300gg-13(a)(4) itself in that case. For this reason, the

challenged provision here is neither “separate” nor “distinct” from the one brought in DeOtte.



                                                  14
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 15 of 36 PageID 450



       Second, the alleged injury here is the same as the injury alleged in DeOtte. A different

alleged harm is one indication the case may not arise out of the same nucleus of operative facts.

See Agrilectric Power Partners v. Gen. Elec. Co., 20 F.3d 663, 665 (5th Cir. 1994). In DeOtte, the

class members alleged harm from being forced to purchase insurance that violated their sincere

religious beliefs by the inclusion of contraceptive coverage or else foregoing health insurance

altogether. See 393 F. Supp. 3d at 498–99. The same is true here. The fact that the Religious-

Objector Plaintiffs frame the injury as the continued operation of the Contraceptive Mandate on

the rest of the market even after the DeOtte injunction does not change the actual injury alleged:

the inability to find any insurer willing to offer contraceptive-free policies. See Am. Compl. 8,

ECF No. 14. And the remedy the Religious-Objector Plaintiffs seek to cure this ongoing injury is

an injunction barring enforcement of the Contraceptive Mandate. See id. As alleged, this injury is

no different than the one suffered by and remedied for the DeOtte class, therefore, the Religious-

Objector Plaintiffs could have brought their current claim there, and the current challenge to the

Contraceptive Mandate arises out of the same nucleus of operative facts. See Singh, 428 F.3d at

571.

       While Plaintiffs correctly note that the Supreme Court in Hellerstedt appeared to alter the

traditional res judicata test for cases involving “important human values,” the Court does not read

that language to change the analysis here. Hellerstedt, 136 S. Ct. at 2305–06 (citing Restatement

(Second) of Judgments §24, Comment f (1980)). The Hellerstedt Court held that res judicata did

not bar that suit due to a change in facts that produced an undue burden on the plaintiffs which had

not occurred at the time of the first suit. Id. at 2305–06, 2310–18. In so holding, the Supreme Court

exclusively referenced cases where facial challenges to a statute were first unsuccessful, there was

a change in the intervening facts, and then a subsequent, as-applied challenge to the same law



                                                 15
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 16 of 36 PageID 451



succeeded. Id. at 2305–06. (“When individuals claim that a particular statute will produce serious

constitutionally relevant adverse consequences before they have occurred—and when the courts

doubt their likely occurrence—the factual difference that those adverse consequences have in fact

occurred can make all the difference.”). Even acknowledging that the current case involves

important human values, this is different from the situation here. In DeOtte, the class members

were successful in enjoining enforcement of the Contraceptive Mandate against them. As noted

above, the injury the Religious-Objector Plaintiffs claim here remains the same as the DeOtte class

members: the unavailability of insurance plans that do not violate their sincere religious beliefs

due to coverage that includes contraception. As my distinguished colleague in Amarillo notes in a

similar case, the appropriate remedy, then, is for the Religious-Objectors to seek a modification to

the DeOtte injunction. See Leal v. Azar, No. 2:20-cv-185-Z, 2020 WL 7672177, at *12 (N.D. Tex.

Dec. 23, 2020) (Kacsmaryk, J.) (citing LULAC v. City of Boerne, 659 F.3d 421, 436 (5th Cir. 2011)

and United States v. Lawrence Cnty. Sch. Dist., 799 F.2d 1031, 1046 (5th Cir. 1986)).

       For these reasons, res judicata bars the Religious-Objector Plaintiffs’ challenge to the

Contraceptive Mandate, and Defendants’ Motion to Dismiss the Religious-Objector Plaintiffs’

challenge to the Contraceptive Mandate is GRANTED.

            iii. Limitations

       Defendants also contend that Plaintiffs’ constitutional and statutory-interpretation claims

are time-barred under 28 U.S.C. § 2401(a) and 28 U.S.C. § 1658(a). See Defs.’ Mot. 25–27, ECF

No. 20. The first provision bars any constitutional challenges against the United States after six

years have passed since the right of action first accrues. See id. at 26. The second provides a four-

year statute of limitations for “civil action[s] arising under an Act of Congress.” See id. at 27

(quoting 28 U.S.C. § 1658(a)). Defendants assert that the right of action could “have accrued no



                                                 16
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 17 of 36 PageID 452



later than the date that the HRSA guidelines including the Contraceptive Mandate first took effect,”

which was eight years ago. See id. at 27.

         Plaintiffs argue that these statutes of limitations are simply inapplicable to claims that seek

prospective relief for ongoing constitutional and statutory violations. See Pls.’ Resp. 19–21, ECF

No. 24. According to Plaintiffs, Defendants cite no authority supporting their limitations argument.

See id. at 20. Plaintiffs argue that their claims continually accrue so long as Defendants persist in

enforcing unconstitutional statutes and ultra vires agency rules in a way that harms Plaintiffs. See

id.

         The Court holds that the statutes of limitations cited by Defendants do not serve to bar

Plaintiffs’ constitutional and statutory-interpretation claims here. “[E]very civil action commenced

against the United States shall be barred unless the complaint is filed within six years after the

right of action first accrues.” 28 U.S.C. § 2401(a). Additionally, “a civil action arising under an

Act of Congress . . . may not be commenced later than 4 years after the cause of action accrues.”

28 U.S.C. § 1658(a). “The accrual of a cause of action means the right to institute and maintain a

suit . . . .” In re Swift, 129 F.3d 792, 795 (5th Cir. 1997). The default rule is that a cause of action

accrues at the time of a plaintiff’s injury. See Helton v. Clements, 832 F.2d 332, 334–35 (5th Cir.

1987).

         The limitations dispute boils down to when the right of action here accrued. Generally,

when agency action is challenged, the “cause of action accrues when all statutorily required or

permitted agency review has been exhausted.” Impro Prods., Inc. v. Block, 722 F.2d 845, 850

(D.C. Cir. 1983). However, when no formal review procedures exist, the cause of action accrues

when the agency action occurs. Id. at 850–51; see also Knox v. Davis, 260 F.3d 1009, 1017 n.3

(9th Cir. 2001) (Schwarzer, J., dissenting) (“It surely would not be said that the statute of



                                                   17
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 18 of 36 PageID 453



limitations runs from the adoption of the regulation rather than from its application in particular

cases.”). When, as here, the challenged action is ongoing, the cause of action continues to accrue

along with the allegedly unconstitutional conduct that gives rise to the plaintiff’s injury and cannot

be insulated by a statute of limitations. See, e.g., McGregor v. La. State Univ. Bd. of Supervisors,

3 F.3d 850, 867 (5th Cir. 1993); Kuhnle Brothers, Inc. v. Cnty. of Geauga, 103 F.3d 516, 522 (6th

Cir. 1997); cf. Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 113 (2002); Hanover Shoe,

Inc. v. United Shoe Mach. Corp., 392 U.S. 481, 502 n.15 (1968); Brown v. Bd. of Educ., 347 U.S.

483, 495 (1954). Because Plaintiffs allege ongoing constitutional and statutory violations

continuing to harm them, their claims are not time-barred.

       Plaintiffs’ constitutional and statutory-interpretation claims are not barred by the statutes

of limitations. Accordingly, Defendants’ Motion to Dismiss Plaintiffs constitutional and statutory-

interpretation claims as time-barred is DENIED.

       B. Rule 12(b)(6) Analysis

              i. Statutory-Interpretation Claim

       Plaintiffs make a statutory-interpretation claim that, if correct, means the Court would not

need to decide their constitutional claims. See Am. Compl. 22–24, ECF No. 14. Because reaching

Plaintiffs’ constitutional claims are dependent on resolution of their statutory-interpretation claim,

the Court addresses it first. Defendants argue that Plaintiffs fail to state a claim upon which relief

may be granted for their statutory-interpretation claim. See Defs.’ Mot. 36–41, ECF No. 20.

Defendants take issue with Plaintiffs’ claim that the references to “current” standards and those

“in effect” in the Provisions must, as a matter of statutory interpretation, be interpreted to refer to

the recommendations that existed at the time of the ACA’s passing. See id. at 36. Defendants first

contend that, had Congress wanted those terms to be retrospective, it would have said so. See id.



                                                  18
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 19 of 36 PageID 454



at 37. Additionally, statutory terms used in the present tense also include the future tense under 1

U.S.C. § 1. See id. Defendants argue that this is confirmed by looking at the rest of section 300gg-

13. See id. Section 300gg-13(a)(5), which immediately follows the challenged Provisions here,

provides that “the current recommendations of the [PSTF] regarding breast cancer screening,

mammography, and prevention shall be considered the most current other than those issued in or

around November 2009.” 42 U.S.C. § 300gg-13(a)(5). By specifically referencing the November

2009 recommendations, Congress was implying that the November 2009 recommendations would

eventually not be the “current” recommendations once the PSTF issued new ones pursuant to

section 300gg-13(a)(5). See Defs.’ Mot. 37, ECF No. 20. Additionally, the text of the adjacent

section 300gg-13(b) lays out timing rules on when future recommendations and guidelines can

take effect under the first three Provisions (sections 300gg(a)(1)–(3). See id. at 38. Defendants

argue that, to accept Plaintiffs’ temporal interpretation would necessarily render other provisions

of the ACA nonsensical. See id. at 39–40. Finally, Defendants argue that, even if the Court finds

the text ambiguous, the agencies have permissibly interpreted them to incorporate later-enacted

recommendations and are entitled to Chevron deference. See id. at 40–41.

       In response, Plaintiffs agree that the most natural reading of the Provisions incorporates

the agencies’ future ratings, recommendations, and guidelines, not only those in place at the time

of the ACA’s enactment. See Pls.’ Resp. 35–36, ECF No. 24. However, Plaintiffs contend that

interpreting them this way presents serious constitutional problems for the Provisions, and the

canon of constitutional avoidance “allows courts to adopt unnatural or unplausible interpretations

of statutory language, so long as the contrary interpretation would present a serious constitutional

question.” See id. at 35. In Plaintiffs’ view, all they need allege at this stage is (1) their proposed

interpretation of the statute is possible; and (2) there are constitutional problems with the statute



                                                  19
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                     Page 20 of 36 PageID 455



serious enough to trigger the canon of constitutional avoidance. See id. at 35–36.

        The Court holds that Plaintiffs fail to state a claim upon which relief may be granted for

their statutory-interpretation challenge. Questions of statutory interpretation begin and end, as they

must, with the text itself. Trout Point Lodge, Ltd. v. Handshoe, 729 F.3d 481, 486 (5th Cir. 2013).

If the plain meaning of the text is clear, the judge’s job is finished. In re Nowlin, 576 F.3d 258,

261 (5th Cir. 2009). “Our starting point is the ‘plain and common meaning of the statute’s words

[, and i]f a statute’s meaning is unambiguous, we generally interpret the statute according to its

plain meaning.’” Dalfrey v. Boss Hoss Cycles, Inc., 456 F. App’x 329, 332 (5th Cir. 2011) (quoting

Texas v. Gonzalez, 82 S.W.3d 322, 327 (Tex. 2002)); Rotkiske v. Klemm, 140 S. Ct. 355, 360

(2019). Only if the text is ambiguous should courts consider rules of construction or other

interpretive aids, such as the canon of constitutional avoidance.4 See Thomas v. Reeves, 961 F.3d

800, 820 (5th Cir. 2020) (Willett, J., concurring). “A statute is ambiguous if it is susceptible of

more than one accepted meaning.” United Servs. Auto. Ass’n v. Perry, 102 F.3d 144, 146 (5th Cir.

1996) (emphasis added). “We must read the statute as a whole, so as to give effect to each of its

provisions without rendering any language superfluous.” Bustamante-Barrera v. Gonzales, 447

F.3d 388, 397 (5th Cir. 2006), cert. denied, 549 U.S. 1205 (2007).

        The text of the Provisions is not ambiguous when read in context. Section 300gg-13(a)

provides,

        A group health plan and a health insurance issuer offering group or individual
        health insurance coverage shall, at a minimum provide coverage for and shall not
        impose any cost sharing requirements for—




4
   “Under the constitutional-avoidance canon, when statutory language is susceptible of multiple
interpretations, a court may shun an interpretation that raises serious constitutional doubts and instead may
adopt an alternative that avoids those problems. But a court relying on that canon still must interpret the
statute . . . .” Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018).
                                                     20
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 21 of 36 PageID 456



       (1) evidence-based items or services that have in effect a rating of “A” or “B” in
           the current recommendations of the United States Preventive Services Task
           Force;

       (2) immunizations that have in effect a recommendation from the Advisory
           Committee on Immunization Practices of the Centers for Disease Control and
           Prevention with respect to the individual involved; and

       (3) with respect to infants, children, and adolescents, evidence-informed preventive
           care and screenings provided for in the comprehensive guidelines supported
           by the Health Resources and Services Administration.

       (4) with respect to women, such additional preventive care and screenings not
           described in paragraph (1) as provided for in comprehensive guidelines
           supported by the Health Resources and Services Administration for purposes of
           this paragraph.
42 U.S.C. § 300gg-13(a) (emphasis added). Plaintiffs suggest that the temporal language

emphasized above can be interpreted to mean only those recommendations and guidelines that

were in effect at the time of the ACA’s enactment. See Pls.’ Resp. 35–36, ECF No. 24.

       The Court disagrees. First, the United States Code provides that, “[i]n determining the

meaning of any Act of Congress, unless the context indicates otherwise . . . words used in the

present tense include the future as well as the present.” 1 U.S.C. § 1. With this in mind, unless the

context indicates otherwise, the Provisions above must be read to require those preventive health

services that “have [or will have] in effect” a rating or recommendation, 42 U.S.C. § 300gg-

13(a)(1)–(2), and preventive care and screenings that “[are or will be] provided for” in

comprehensive guidelines. 42 U.S.C. § 300gg-13(a)(3)–(4).

       Second, “[t]he meaning of statutory language, plain or not, depends on context.” Collins v.

Mnuchin, 938 F.3d 553, 577 (5th Cir. 2019). The context here not only fails to “indicate

otherwise,” 1 U.S.C. § 1, it actually confirms Defendants’ interpretation of the Provisions. The

same section of the statute requires the HHS Secretary to “establish a minimum interval between

                                                 21
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 22 of 36 PageID 457



the date on which a recommendation described in subsection (a)(1) or (a)(2) or a guideline under

subsection (a)(3) is issued and the plan year with respect to which the requirement described in

subsection (a) is effective with respect to the service described in such recommendation or

guideline.” 42 U.S.C. § 300gg-13(b)(1). It then specifies that the minimum interval allowed is one

year. See 42 U.S.C. § 300gg-13(b)(2). The only way section 300gg-13(b) makes any sense is if the

guidelines and recommendations of section 300gg-13(a) are prospective and subject to change.

Otherwise, Congress could have simply stated that no insurer be required to implement the

guidelines and recommendations in place at the time of the ACA’s enactment until one year later.

Additionally, at the time of the ACA’s enactment, the “comprehensive guidelines” described in

section 300gg-13(a)(4) did not yet exist. See Interim Final Rules for Group Health Plans and Health

Insurance Issuers Relating to Coverage of Preventive Services Under the Patient Protection and

Affordable Care Act, 75 Fed. Reg. 41726, 41728 (“The Department of HHS is developing these

guidelines and expects to issue them no later than August 1, 2011.”). Reading the Provisions as a

whole reveals the statute’s dictate is for insurers to cover those preventive-care services currently

recommended at the time of an insurer applying the mandate, not those in place at the time of the

statute’s enactment.

       The Plaintiffs’ proposed interpretation is also not demanded by the Supreme Court’s

decision in Carcieri v. Salazar, in which the Supreme Court had to interpret a phrase in the Indian

Reorganization Act that referred to “any recognized Indian tribe now under Federal jurisdiction.”

555 U.S. 379, 395 (2009). There, the statutory language included a specific date that anchored the

word “now” to the time of the statute’s enactment. See 25 U.S.C. § 5129. Because of the statute’s

context, the Supreme Court held that the statute was unambiguous and referring only those Indian

tribes under federal jurisdiction in 1934. See Carcieri, 555 U.S. at 395.



                                                 22
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                      Page 23 of 36 PageID 458



        In context here, the statutory language refers to recommendations that, by the design of the

Provisions and incorporation of the evolving standards issued by the PSTF, ACIP, and HRSA,

would necessarily change in the future. As Justice Kavanaugh recently put it, “[P]roper statutory

interpretation asks ‘how a reasonable person, conversant with the relevant social and linguistic

conventions, would read the text in context. This approach recognizes that the literal or dictionary

definitions of words will often fail to account for settled nuances or background conventions that

qualify the literal meaning of language and, in particular, of legal language.’” Bostock v. Clayton

Cnty., 140 S. Ct. 1731, 1825 (2020) (Kavanaugh, J., dissenting) (quoting John F. Manning, The

Absurdity Doctrine, 116 Harv. L. Rev. 2387, 2392–93 (2003)). Plaintiffs’ interpretation represents

a hyper-literal reading, as opposed to the ordinary, contextual reading of the statutory provisions

here. While Plaintiffs lay out a grammatically possible construction of these phrases, this is not a

plausible or accepted reading of these terms. See Perry, 102 F.3d at 146–47. Because the Court

holds that Plaintiffs have failed to demonstrate a prima facie case that the Provisions are

ambiguous, there is no cause to consider the application of the constitutional avoidance canon.5

        The Court holds that Plaintiffs fail to state a claim upon which relief may be granted for

their statutory-interpretation challenge. For these reasons, Defendants’ Motion to Dismiss

Plaintiffs’ statutory-interpretation claim is GRANTED.

              ii. Appointments-Clause Claim

        Defendants next argue that Plaintiffs fail to state a claim upon which relief may be granted

for violation of the Appointments Clause. See Defs.’ Mot. 27–33, ECF No. 20. Defendants offer

three reasons to support this argument: “(1) they have forfeited any such claim by failing to raise


5
  “This is a substantive canon of construction, like the rule of . . . constitutional avoidance (that statutory
language should be given a saving construction). . . . As the Supreme Court has repeatedly made clear, most
recently a few months ago, substantive canons of construction are not applied at the outset of textual
inquiry.” Thomas, 961 F.3d at 820 (citing Shular v. United States, 140 S. Ct. 779, 787 (2020)).
                                                      23
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                  Page 24 of 36 PageID 459



it before the agencies; (2) any putative defect in the appointments of the HRSA Administrator and

the members of the ACIP has been resolved through ratification by an Officer of the United States;

and (3) neither PSTF nor ACIP members must be appointed pursuant to the Appointments Clause.”

See id. at 27. First, Defendants contend Plaintiffs were required to first bring their Appointments

Clause challenge to the Provisions in the many agency rulemakings implementing the provisions

from 2010 to the present. See id. at 27–29. Defendants assert that Plaintiffs are challenging specific

requirements made pursuant to the HRSA’s guidelines and the PSTF’s recommendations, not the

enabling statute in the abstract. See Defs.’ Reply, 11, ECF No. 32. Because Plaintiffs failed to raise

those challenges with the agencies, Defendants argue Plaintiffs have forfeited this claim. See

Defs.’ Mot 28, ECF No. 20.

        Second, Defendants argue that any defects in appointment were subsequently cured by the

HHS Secretary’s ratification through agency rulemaking. See id. at 29. This is because, according

to Defendants, the repeated actions of multiple HHS Secretaries to promulgate regulations

implementing the Provisions ratified the regulations, thus curing any defect in the appointment of

the HRSA Administrator. See id. They argue the same is true for all recommendations made by

the ACIP, as they were ratified by the Director of the Centers for Disease Control and Prevention.

See id. at 30.

        Third, Defendants argue that, under Fifth Circuit precedent, “members of the PSTF and

members of ACIP are not ‘Officers of the United States’ requiring [Presidential] appointment,”

because they do not have a “continuing and formalized relationship of employment with the United

States Government.” See id. at 31–33 (citing Riley v. St. Luke’s Episcopal Hosp., 252 F.3d 749,

757 (5th Cir. 2001)). In the alternative, Defendants argue that “even if members of ACIP were

federal officers, they are appointed by the Secretary of HHS, who as a department head has the



                                                 24
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 25 of 36 PageID 460



authority to appoint inferior officers” under 42 U.S.C. § 217a. Defs.’ Mot. 31 n.10, ECF No. 20.

       Finally, Defendants present examples of other recommendations made by outside bodies

that are incorporated by reference into federal law. See Defs.’ Mot. 33, ECF No. 20. They argue

that Plaintiffs’ position is absurd, as it would allow Congress to constitutionally incorporate expert

standards into federal law, but only if those outside bodies (“like state governments, foreign

governments, [and] nongovernmental organizations”) are not associated with the federal

government in any way. See Defs.’ Reply 15, ECF No. 32.

       Plaintiffs reject each of Defendants’ arguments. See Pls.’ Resp. 21, ECF No. 24. First,

Plaintiffs argue that they bring constitutional challenges to an Act of Congress, not a petition for

review of an agency rulemaking or adjudication. See id. Plaintiffs contend that Defendants do “not

cite a single case that enforces an agency-exhaustion requirement when a plaintiff sues to enjoin

the continued enforcement of an allegedly unconstitutional statute.” See id. at 22. Next, Plaintiffs

argue that Defendants’ ratification argument fails because neither the HHS Secretary nor any

agency head is given authority to reject the recommendations of the PSTF, HRSA, and ACIP in

implementing them. See id. at 22–23. Because the recommendations are mandatory, those

committees are exercising “significant authority” in violation of the Appointments Clause. See id.

at 23. Plaintiffs argue that this would be the case even if that power enabled them to dictate

preventive care that private insurers must cover until an officer of the United States ratified it. See

id.

       Plaintiffs rebut Defendants’ claims that the members of the PSTF and ACIP cannot qualify

as “officers of the United States” because they lack a “a continuing and formalized relationship of

employment with the United States government.” See id. (quoting Defs.’ Mot. 23, ECF No. 20).

Plaintiffs submit that this argument of Defendants is not supported by Supreme Court case law,



                                                  25
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 26 of 36 PageID 461



and the Office of Legal Counsel has explicitly rejected it. See id. at 24 (citing Officers of the United

States Within the Meaning of the Appointments Clause, 31 Op. Off. Legal Counsel 73, 78 (Apr.

16, 2007)). Plaintiffs acknowledge the Fifth Circuit’s holding in Riley requiring employment with

the United States Government to qualify as an officer for purposes of the Appointments Clause;

however, Plaintiffs ask the Court to “hold that an individual has a ‘formalized relationship of

employment with the United States government’ under Riley whenever he ‘occupies a continuing

position established by law’—regardless of whether he receives payment or emoluments for his

work.” Pls.’ Resp. 26–27, ECF No. 24.

        Finally, Plaintiffs address Defendants’ brief alternative argument that, even if the ACIP

members were officers of the United States, they are properly appointed inferior officers by the

HHS Secretary under 42 U.S.C. § 217a. See id. at 29–30. First, Plaintiffs argue that the ACIP no

longer qualifies as an advisory council under section § 217a, because the ACA made their

recommendations mandatory. See id. at 29. Second, Plaintiffs argue that anyone “appointed

pursuant to section 217a is, by definition, a non-officer of the United States who holds a purely

‘advisory’ role.” Id. at 30. Third, Plaintiffs contend that the ACIP members cannot be inferior

officers because their recommendations are conclusive and final. See id.

        The Court holds that Plaintiffs have sufficiently pleaded their Appointments-Clause claim.

“The Appointments Clause prescribes the exclusive means of appointing ‘Officers.’ Only the

President, a court of law, or a head of department can do so.” Lucia v. SEC, 138 S. Ct. 2044, 2051

(2018) (citing U.S. Const. art. II, § 2). The Supreme Court has determined that, to be an officer,

one must occupy a “continuing position established by law” and exercise “significant authority

pursuant to the laws of the United States.” See id. (citing United States v. Germaine, 99 U.S. 508,

511 (1878); Buckley v. Valeo, 424 U.S. 1, 126 (1976)). “[T]he constitutional definition of an



                                                  26
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 27 of 36 PageID 462



‘officer’ encompasses, at a minimum, a continuing and formalized relationship of employment

with the United States Government.” Riley, 252 F.3d at 757.

        First, the Court rejects Defendants’ waiver argument. While an Appointments-Clause

challenge can be waived if a plaintiff does not first raise it at the administrative level, this is only

true when a court is sitting in review of administrative proceedings below and, even then, is not

absolute. See Freytag v. Comm’r, 501 U.S. 868, 878–79 (1991). By not challenging agency

rulemaking or another administrative procedure, Plaintiffs have not waived their claim challenging

the constitutionality of the PSTF, ACIP, and HRSA under the ACA.

        Plaintiffs’ Appointments-Clause claim turns on whether the members of the PSTF, ACIP,

and HRSA are “officers” of the federal government. Because these members were not appointed

by the President and confirmed by the senate, if the authority conveyed to them under the

Provisions makes them officers of the federal government, then that grant of authority is

unconstitutional. Lucia, 138 S. Ct. at 2051. Plaintiffs have stated a plausible claim that the binding

nature of the recommendations issued by the PSTF, ACIP, and HRSA convert them from purely

advisory committees into officers exercising “significant authority pursuant to the laws of the

United States.” Buckley, 424 U.S. at 126. In drawing comparisons of these panels to the American

National Standards Institute and recommendations made pursuant to the Provisions to criminal

offenses incorporated into federal statutes, Defendants fail to demonstrate how those comparisons

are analogous in the context of an Appointments-Clause challenge, which is a separation-of-

powers issue. None of the examples cited by Defendants present the same kinds of lateral,

separation-of-powers concerns among the co-equal branches of government that Plaintiffs have

pleaded in this case.

        Likewise, Defendants’ ratification argument does not defeat Plaintiffs’ Appointments-



                                                  27
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                Page 28 of 36 PageID 463



Clause claim at this stage. Defendants assert that any possible Appointments-Clause problem with

the Contraceptive Mandate has been subsequently ratified by HHS Secretaries through

promulgation of agency rules, and any problem with the ACIP recommendations has been

subsequently ratified by the CDC Directors. See Defs.’ Mot. 29–30, ECF No. 20. “Ratification

occurs when a principal sanctions the prior actions of its purported agent.” Doolin Sec. Sav. Bank,

F.S.B. v. Off. of Thrift Supervision, 139 F.3d 203, 212 (D.C. Cir. 1998) (citing Restatement

(Second) of Agency § 82 (1958)), superseded by statute on other grounds, Federal Vacancies

Reform Act of 1998, Pub. L. No. 105-277, 112 Stat. 2681 (1998) (codified at 5 U.S.C. §§ 3345 to

3349d). In this context, courts have recognized that “ratification can remedy a defect arising from

the decision of an improperly appointed official.” Jooce v. FDA, 981 F.3d 26, 28 (D.C. Cir. 2020).

But Defendants’ ratification argument begs the question. If the recommendations of the

committees are no longer advisory under the Provisions, a principal is not able to “sanction” the

prior actions, as all discretion has been removed from the agency or department head and placed

with the committee members.

        Finally, Defendants argue that, if the members of the ACIP are officers, they are inferior

officers properly appointed by the HHS Secretary pursuant to the Appointments Clause6 and 42

U.S.C. § 217a. See Defs.’ Mot. 31 n.10, ECF No. 20. While section 217a vests the HHS Secretary

with the authority to “appoint such advisory councils or committees . . . as he deems desirable . . .

for the purpose of advising him in connection with any of his functions,” the crux of Plaintiffs’

Appointments-Clause claim is that the ACIP ceased to function in an advisory capacity the

moment the Provisions gave the ACIP’s recommendations the binding force of law. See Am.

Compl. 14, ECF No. 14. Because the Court holds that Plaintiffs have adequately alleged that the


6
 “Congress may by Law vest the Appointment of such inferior Officers, as they think proper, in the
President alone, in the Courts of Law, or in the Heads of Departments.” U.S. Const. art. II, § 2.
                                                 28
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                     Page 29 of 36 PageID 464



recommendations of the ACIP are no longer advisory, Defendants’ inferior-officer argument does

not merit dismissal of this portion of Plaintiffs’ claim.

        Because Plaintiffs have sufficiently pleaded their Appointments-Clause claim, Defendants’

Motion to Dismiss Plaintiffs’ Appointments-Clause claim is DENIED.

             iii. Vesting-Clause Claim

        For similar reasons to their Appointments-Clause argument, Defendants argue that

Plaintiffs fail to state a claim upon which relief may be granted for violation of the Vesting Clause

in the grant of authority to the PSTF. See Defs.’ Mot. 33–34, ECF No. 20. According to

Defendants, the PSTF’s recommendations are not exercises of executive or legislative power, as

Plaintiffs contend. See id. Rather, they are merely evolving, “evidence-based” scientific standards

that Congress chose to incorporate into the ACA. See id. at 34.

        Plaintiffs respond that, contrary to Defendants’ claims, the PSTF is a federal government

entity whose recommendations are made legally binding under the ACA. See Pls.’ Resp. 31, ECF

No. 24. Plaintiffs argue that, under the Vesting Clause, Congress is not allowed to create

independent entities and then empower them to make legally binding decisions independent of

Executive control. See id. As an alternative to their argument that the PSTF is unlawfully

exercising legislative power, see infra and supra, Plaintiffs argue that section 299b-4

impermissibly insulates the PSTF from the President’s direction, removal, and control if the PSTF

is exercising executive power under the ACA. See Am. Compl. 20–22, ECF No. 14.7

        The Court holds that Plaintiffs have sufficiently pleaded their Vesting-Clause claim.


7
  Federal Rule of Civil Procedure 8(d)(2) allows for alternative pleading. See Fed. R. Civ. P. 8(d)(2).
Plaintiffs’ nondelegation-doctrine claim with regard to the PSTF specifically is related to and mutually
exclusive with their Vesting-Clause claim. If the PSTF’s powers are legislative in nature, Plaintiffs argue a
violation of the nondelegation doctrine. Should it be shown, instead, that the exercise of authority the PSTF
enjoys under the ACA is executive in nature, Plaintiffs argue this violates Article II’s Vesting Clause. See
Am. Compl. 20–22, ECF No. 14.
                                                     29
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 30 of 36 PageID 465



Article II of the United States Constitution vests “[t]he executive Power . . . in a President of the

United States of America” and commands that he “take Care that the Laws be faithfully executed.”

U.S. Const. art. II, § 1, cl. 1; id., § 3. Pursuant to this fundamental principle of the separation of

powers, Congress may not create independent agencies wielding substantial executive power that

are insulated from all Presidential control. See Seila L. LLC v. Consumer Fin. Prot. Bureau, 591

140 S. Ct. 2183, 2199 (2020). The statute establishing the PSTF provides that “[a]ll members of

the [PSTF] convened under this subsection, and any recommendations made by such members,

shall be independent and, to the extent practicable, not subject to political pressure.” 42 U.S.C. §

299b-4(a)(6) (emphasis added).

       There is no question that, under the ACA, the PSTF exercises a significant degree of

authority. The Provisions state that insurers must cover all “evidence-based items or services”

recommended by the PSTF without any cost-sharing requirements. See 42 U.S.C. § 300gg-

13(a)(1). The only questions that remain to be answered are (1) whether the power conveyed to

the PSTF is legislative or executive in nature; and (2) if executive, whether the PSTF’s

recommendations are truly advisory under the Provisions. In their Amended Complaint, Plaintiffs

state a plausible Vesting-Clause claim that asks the Court to resolve these two questions.

Defendants’ conclusory argument that the PSTF’s recommendations are not exercises of

legislative or executive power are, without more, insufficient to merit dismissal of this claim under

Rule 12(b)(6).

       Plaintiffs have sufficiently pleaded their Vesting-Clause claim; therefore, Defendants’

Motion to Dismiss Plaintiffs’ Vesting-Clause claim is DENIED.

            iv. Nondelegation-Doctrine Claim

       Next, Defendants argue that Plaintiffs fail to state a claim upon which relief may be granted



                                                 30
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                    Page 31 of 36 PageID 466



for violation of the Nondelegation Doctrine. See Defs.’ Mot. 34–36, ECF No. 20. First, they

contend that the recommendations of the PSTF, ACIP, and HRSA are not rules under the

Administrative Procedure Act. See id. at 34. Second, Defendants argue that the ACA lays out “a

sufficient intelligible principle to guide any decision making and limit discretion.” Id. According

to Defendants, each of the Provisions clearly delineate the criteria that govern what

recommendations and guidelines are incorporated into the statute. See id. at 35. Those criteria are

sufficient to serve as an intelligible principle to satisfy nondelegation principles. Id. at 36.

Defendants argue this is true notwithstanding the Supreme Court’s acknowledgment in Little

Sisters of the Poor that the HRSA has a great deal of discretion in executing its tasks under the

Provisions. See id. Defendants assert that current Supreme Court and Fifth Circuit precedents

permit the same type of extremely broad discretion within very general guidelines that is included

in the Provisions. See Defs.’ Reply 17, ECF No. 32.

       Plaintiffs argue that the Provisions provide nothing to guide the discretion of the PSTF,

ACIP, or HRSA. See Pls.’ Resp. 32, ECF No. 24. Contrary to Defendants’ claims, Plaintiffs argue

that agencies are not allowed to establish their own criteria, such as which items or services receive

“A” or “B” grades in section § 300gg-13(a)(1), in lieu of Congress articulating an intelligible

principle. Plaintiffs also argue that Defendants confuse the limitations placed upon the PSTF,

ACIP, and HRSA in the Provisions with an intelligible principle guiding the agencies in deciding

which preventive care services must be covered. See id. at 33. In effect, Plaintiffs argue, this leaves

the committees with absolute discretion in making these decisions that have the force and effect

of law. See id. Finally, Plaintiffs argue that the Supreme Court in Little Sisters of the Poor

expressed their discomfort with the lack of guidance contained in section 300gg-13(a)(4) and

indicated that “they will continue policing the boundary between permissible and impermissible



                                                  31
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                     Page 32 of 36 PageID 467



delegations of lawmaking power.” See id. at 34.

       The Court holds that Plaintiffs have sufficiently pleaded their Nondelegation-Doctrine

claim. Article I of the United States Constitution vests “all legislative Powers” in Congress. See

U.S. Const. art. I, § 1. The “text permits no delegation of those powers, and so we repeatedly have

said that when Congress confers decisionmaking authority upon agencies Congress must ‘lay

down by legislative act an intelligible principle to which the person or body authorized to [act] is

directed to conform.’” Whitman v. Am. Trucking Assns., 531 U. S. 457, 472 (2001) (quoting J. W.

Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409 (1928)) (internal citation omitted). “[A]

nondelegation inquiry always begins (and often almost ends) with statutory interpretation. The

constitutional question is whether Congress has supplied an intelligible principle to guide the

delegee’s use of discretion. So the answer requires construing the challenged statute to figure out

what task it delegates and what instructions it provides.” Gundy v. United States, S. Ct. 2116, 2123

(plurality opinion). The intelligible principle test requires Congress to clearly delineate (1) the

general policy, (2) the public agency which is to apply it, and (3) the boundaries of this delegated

authority. See Big Time Vapes, Inc. v. FDA, 963 F.3d 436, 444 (5th Cir. 2020) (citing Mistretta v.

United States, 488 U.S. 361, 373 (1989)).

       In looking to the statute, Plaintiffs insist that the text provides no instructions or limitations

on the committees in determining what preventive health services are included in their

recommendations and guidelines. See Pls.’ Resp. 32, ECF No. 24. At least with respect to one of

the Provisions, the Supreme Court has indicated their own concern in this regard. See Little Sisters

of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2380 (2020) (“But [section

300gg-13(a)(4)] is completely silent as to what those ‘comprehensive guidelines’ must contain, or

how HRSA must go about creating them.”). Defendants contend that the limitations in the statute



                                                  32
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 33 of 36 PageID 468



concerning    “evidenced-based”      and    “evidence-informed”      preventive    health   services,

immunizations specific to the individual involved, and care and screenings specific to women are

sufficient restrictions on the committees’ exercises of discretion. See Defs.’ Mot. 35, ECF No. 20.

Defendants may yet prove to be correct at a later stage in this case. But Plaintiffs have stated a

plausible challenge that these self-regulating criteria are insufficient as an intelligible principle

under nondelegation principles.

       Because Plaintiffs have sufficiently pleaded their nondelegation-doctrine claim,

Defendants’ Motion to Dismiss Plaintiffs’ nondelegation-doctrine claim is DENIED.

             v. RFRA Claim

       Finally, Defendants argue that Plaintiffs fail to state a claim upon which relief may be

granted for violation of the RFRA. See Defs.’ Mot. 42–43, ECF No. 20. Defendants submit that,

in challenging the PrEP Mandate, the Religious-Objector Plaintiffs fail to allege they have any

sincerely held religious belief actually burdened by the government. See id. at 42. And while Dr.

Hotze, Plaintiff Braidwood Management’s principal, has religious objections to homosexuality, he

is not being compelled to engage in any such activity. See id. Defendants argue that there is no

allegation in the pleadings that purchasing insurance coverage for medication to prevent an

infectious disease like HIV violates a sincerely held religious belief. See id. at 42–43.

       Plaintiffs argue that, contrary to Defendants’ contention, the Amended Complaint clearly

lays out that compulsion to purchase insurance that covers PrEP drugs violates the Religious-

Objector Plaintiffs’ sincerely held religious beliefs. See Pls.’ Resp. 36–37, ECF No. 24 (citing Am.

Compl. 8, 11–12, ECF No. 14). These allegations, Plaintiffs argue, make clear that they are

asserting a complicity-based objection to the coverage of PrEP drugs, because they do not wish to

subsidize drugs that encourage or facilitate behavior that violates their sincerely held religious



                                                 33
 Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 34 of 36 PageID 469



beliefs. See Pls.’ Resp. 37, ECF No. 24.

       Plaintiffs’ have sufficiently pleaded their RFRA claim. The RFRA states the “Government

shall not substantially burden a person’s exercise of religion.” 42 U.S.C. § 2000bb-1. But the

Government “may substantially burden a person’s exercise of religion . . . if it demonstrates that

application of the burden to the person (1) is in furtherance of a compelling governmental interest;

and (2) is the least restrictive means of furthering that compelling governmental interest.” Id. “The

threshold inquiry . . . is whether the challenged governmental action substantially burdens the

exercise of religion.” Diaz v. Collins, 114 F.3d 69, 71 (5th Cir. 1997) (citation omitted). The

religious objector bears the burden of proving a substantial burden, and if that burden is met, “it is

then up to the government to demonstrate that the compelling interest test is satisfied.” Id. at 71–

72 (citations omitted).

       In their Amended Complaint, Plaintiffs allege the following:

       Mr. Kelley, Mr. Starnes, Mr. Maxwell, and Ms. Maxwell also object to
       contraceptive coverage and the coverage of PrEP drugs on religious grounds. Each
       of these plaintiffs is a Christian, and they are unwilling to purchase health insurance
       that subsidizes abortifacient contraception or PrEP drugs that encourage and
       facilitate homosexual behavior.

Am. Compl. 8, ECF No. 14. Regarding Braidwood Management and Dr. Hotze, Plaintiffs likewise

state that “Dr. Hotze is therefore unwilling to allow Braidwood’s self-insured plan to cover PrEP

drugs such as Truvada and Descovy because these drugs facilitate or encourage homosexual

behavior, which is contrary to Dr. Hotze’s sincere religious beliefs.” Id. at 12. These portions of

the pleading allege that Defendants substantially burden these Plaintiffs’ exercise of religion in

enforcement of the PrEP Mandate. It is not clear to the Court what greater particularity Defendants

would have Plaintiffs include in their live Complaint; regardless, the Court will not require any.

Plaintiffs have sufficiently pleaded a plausible violation of the RFRA.



                                                 34
    Case 4:20-cv-00283-O Document 35 Filed 02/25/21                   Page 35 of 36 PageID 470



        Defendants appear to suggest that compelled financial support for an activity that violates

one’s sincere religious beliefs—without being forced to engage in the activity—is insufficient to

state a RFRA claim. See Defs.’ Mot. 42, ECF No. 20 (“But while ‘homosexual behavior’ may be

contrary to Dr. Hotze’s sincere religious beliefs, Dr. Hotze is not being compelled to engage in

any such activity, and Braidwood nowhere alleges that providing or purchasing insurance coverage

for [PrEP drugs] . . . is contrary to his or Braidwood’s sincere religious beliefs.”). The Court rejects

this argument out of hand. The Supreme Court has held that compelling the purchase of insurance

that includes medications that violate one’s sincerely held religious beliefs can be a violation of

the RFRA. See Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 725–26 (2014). Certainly, then,

at the motion-to-dismiss stage, the Religious-Objector Plaintiffs’ pleading of the same complicity-

based objection to the Mandates here is sufficient to state a RFRA claim upon which relief may be

granted.

        Because Plaintiffs have sufficiently pleaded their RFRA claim, Defendants’ Motion to

Dismiss Plaintiffs’ RFRA claim is DENIED.

IV.     CONCLUSION

        For the foregoing reasons, Defendants’ Motion to Dismiss (ECF No. 20) is GRANTED in

part and DENIED in part. Specifically, Defendants’ Motion to Dismiss is GRANTED as to

Plaintiffs’ statutory-interpretation claim and the Religious-Objector Plaintiffs’ Contraceptive

Mandate claim. Those claims are hereby dismissed with prejudice.8 All other requested relief in

Defendants’ Motion to Dismiss is DENIED.


8
  Courts usually provide a litigant leave to amend to cure pleading deficiencies. See Hart v. Bayer Corp.,
199 F.3d 239, 247 n.6 (5th Cir. 2000). Leave to amend should be given in the absence of “undue delay, bad
faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by amendments
previously allowed, undue prejudice to the opposing party, and futility of amendment.” In re Southmark
Corp., 88 F.3d 311, 314–15 (5th Cir. 1996). Plaintiffs have already amended their Complaint once, and the
Court holds that leave to amend their claims would be futile. Accordingly, the Plaintiffs’ statutory-
                                                   35
  Case 4:20-cv-00283-O Document 35 Filed 02/25/21                     Page 36 of 36 PageID 471



        SO ORDERED on this 25th day of February 2021.


                                                           _____________________________________
                                                           Reed O’Connor
                                                           UNITED STATES DISTRICT JUDGE




interpretation claim and the Religious-Objector Plaintiffs’ Contraceptive Mandate claim are dismissed with
prejudice.
                                                   36
